Virginia Judiciary Online Case Information System                                        https://eapps.courts.state.va.us/ocis/details;oneCase=true

                                Case: 3:24-cr-00014-JJH Doc #: 175-1 Filed: 04/18/24 1 of 2. PageID #: 2631

                         Virginia Judiciary
                         Online Case Information System 2.0



                                                              Return to Search Results


               Williamsburg/James City County Circuit Court (details)                                     Subscribe
               Case #: CR14023534-00
               Defendant: ADAMS, JEREMY DAVID




1 of 2                                                                                                                        4/18/2024, 9:55 AM
Virginia Judiciary Online Case Information System                                                                                                            https://eapps.courts.state.va.us/ocis/details;oneCase=true

                                Case: 3:24-cr-00014-JJH Doc #: 175-1 Filed: 04/18/24 2 of 2. PageID #: 2632




                                                                                            Return to Search Results




                          Home | Virginia's Court System | Online Services | Case Status and Information | Court Administration | Directories | Forms | Judicial Branch Agencies | Programs
                                                       Copyright © Office of the Executive Secretary, Supreme Court of Virginia, 2019. All Rights Reserved.
                                                                                               Build Number: 3.0.2.55




2 of 2                                                                                                                                                                                            4/18/2024, 9:55 AM
